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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA


LIQUIDIA TECHNOLOGIES, INC.,
                  Plaintiff,
      v.
UNITED STATES FOOD AND DRUG
ADMINISTRATION, ROBERT M.
CALIFF, M.D., in his official capacity as            REDACTED
COMMISSIONER OF FOOD AND
DRUGS, UNITED STATES                                 No. 1:24-cv-2428-TJK
DEPARTMENT OF HEALTH AND
HUMAN SERVICES, XAVIER                               Hearing Scheduled for
BECERRA, in his official capacity as                 December 5, 2024, at 2 p.m.
SECRETARY OF HEALTH AND
HUMAN SERVICES,
                  Defendants, and
UNITED THERAPEUTICS CORP.,
                  Intervenor-Defendant and
                  Cross-Claimant.

     UTC’S MEMORANDUM IN SUPPORT OF ITS MOTION FOR SUMMARY
  JUDGMENT AND IN OPPOSITION TO LIQUIDIA’S RENEWED MOTION FOR A
    PRELIMINARY INJUNCTION AND MOTION FOR SUMMARY JUDGMENT
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                                                      GLOSSARY

ANDA ................................................abbreviated new drug application

APA....................................................Administrative Procedure Act, 5 U.S.C. § 500 et seq.

FDA....................................................Food and Drug Administration

FDCA .................................................Federal Food, Drug, and Cosmetic Act (FDCA), 21 U.S.C.
                                                      § 301 et seq.

FDKP .................................................an excipient fumaryl diketopiperazine

Liquidia ..............................................Liquidia Technologies, Inc.

NCI.....................................................new clinical investigation

NDA ...................................................new drug application

Liquidia Opening Brief. .....................Memorandum of Points and Authorities in Support of
                                             Liquidia Technologies, Inc.’s Renewed Motion for a
                                             Preliminary Injunction and Motion for Summary Judgment
                                             (ECF No. 32-1)

PAH....................................................pulmonary arterial hypertension

PH ......................................................pulmonary hypertension

PH-ILD ..............................................pulmonary hypertension associated with interstitial lung
                                                     disease

UTC....................................................United Therapeutics Corporation




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                                       INTRODUCTION

       Pharmaceutical breakthroughs extend beyond discovery of brand-new molecules.

Congress recognized that often discoveries involving an existing drug (whether for a new use or a

new dosage form) can be a significant innovation. But those discoveries require clinical studies—

and clinical studies require significant investment. So, to encourage industry to commit the

necessary resources to discovering new uses and product forms, Congress offered a reward: if a

manufacturer sponsors a clinical trial and, as a result, is the first company to win FDA approval

for a safe, effective, and new use of an existing “active moiety” (roughly equivalent here to the

active ingredient), the manufacturer qualifies for three years of limited market exclusivity. During

that three-year period, no other company can use a shortcut application to obtain approval of a

drug labeled for the same “conditions of approval.” This exclusivity helps to “forestall” the

“problem” of competitors “free riding” off the innovator’s safety and efficacy investigations. See

Braeburn Inc. v. FDA, 389 F. Supp. 3d 1, 7 (D.D.C. 2019).

       Plaintiff Liquidia Technologies, Inc. (Liquidia) is the would-be free rider: it seeks to

circumvent the statutory three-year exclusivity period and launch a product using a shortcut

application. FDA correctly rejected Liquidia’s arguments, which second-guess the agency’s

assessment of a clinical trial’s design and significance. This Court should do the same.

       The exclusivity here belongs to United Therapeutics Corp. (UTC), an innovator company

whose clinical development efforts have resulted in multiple FDA approvals for use of the drug

treprostinil. In 2009, UTC secured approval for an inhaled solution version of treprostinil, which

requires a battery-powered nebulizer. When UTC later sought approval for a dry powder version,

FDA advised that a bioavailability study—one establishing that the new product behaves similarly

to the existing one in the human body—would not be enough. Rather, because of questions FDA

had about the safety and tolerability of treprostinil in a new dosage form, FDA recommended


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conducting,



                                                                         That is what UTC did. Its

study, called BREEZE, had safety and tolerability as its primary endpoints. BREEZE showed for

the first time that dry powder treprostinil was both safe and tolerable in sick patients. FDA

approved UTC’s dry-powder product—Tyvaso DPI—increasing patient access to treprostinil

through this more convenient dosage form.

       The relevant statute confers three years of exclusivity upon approval of a new drug

application that “contains reports of new clinical investigations (other than bioavailability studies)

essential to the approval of the application.” 21 U.S.C. § 355(c)(3)(E)(iii). FDA correctly

determined that the BREEZE study was a qualifying “new clinical investigation”; that it is not a

“bioavailability study”; and that it was “essential to the approval” of Tyvaso DPI because it

assuaged the safety and tolerability concerns FDA itself had raised. Liquidia attempts to argue

that because the study contains some bioavailability data, it must be disqualified from eligibility.

That misunderstands both the study and the statute: a study with a primary endpoint aimed at

safety and/or tolerability like this one is a “new clinical investigation”; it does not become a

“bioavailability study” merely because it also collects pharmacokinetic data. And Liquidia’s

argument that FDA did not really need the additional clinical investigation of safety and

tolerability second-guesses FDA on a quintessentially scientific judgment.

       Liquidia nominally pairs its motion for summary judgment with a request for a preliminary

injunction, but the relief it seeks—final FDA approval for its competing product, overriding UTC’s

exclusivity—is not “preliminary” at all. Because Defendants are entitled to summary judgment,

Liquidia cannot obtain any interim relief. Regardless, Liquidia barely addresses the equitable




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factors; it cannot establish that it faces any irreparable harm before a summary-judgment decision,

the standard means of resolving APA cases.

       The Court should grant summary judgment against Liquidia on its claims and deny

Liquidia’s motion for summary judgment and for a preliminary injunction.

                                        BACKGROUND

I.     Statutory and Regulatory Framework

       Federal law requires anyone seeking to market a new drug to first demonstrate that the

product is effective and safe for use. To do so, the sponsor may submit a new drug application

(NDA) under section 505(b)(1) of the Federal Food, Drug, and Cosmetic Act (FDCA), 21 U.S.C.

§ 355(b)(1), or one of the more streamlined applications created by the Drug Price Competition

and Patent Term Restoration Act (the “Hatch-Waxman Act”), Pub. L. No. 98-417, 98 Stat. 1585

(1984). The choice depends on whether (and to what extent) the sponsor relies on previous FDA

approvals and associated studies to which it has no right of reference.

       If an applicant seeks approval for an entirely new drug product, it typically submits a full,

stand-alone NDA under section 505(b)(1).          An NDA must include the “full reports of

investigations”—i.e., clinical trials—conducted or licensed by the sponsor showing “whether such

drug is safe for use and whether such drug is effective in use.” 21 U.S.C. § 355(b)(1)(A). UTC’s

NDA at issue here was a 505(b)(1) application. By contrast, if an applicant seeks to market a

generic drug that is a copy of an approved brand drug, the Hatch-Waxman Act allows the applicant

to submit an abbreviated new drug application (ANDA) establishing only that the proposed generic

drug is bioequivalent and pharmaceutically equivalent to a previously approved product. See id.

§ 355(j)(2)(A). The third option, followed by Liquidia here, is an intermediate pathway for

approval of a new drug product that shares features with a previously approved drug: an application

under section 505(b)(2) of the FDCA. “Like the full NDA, a [section] 505(b)(2) NDA must


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directly demonstrate that the proposed drug product is safe and effective.” Veloxis Pharm., Inc. v.

FDA, 109 F. Supp. 3d 104, 108 (D.D.C. 2015). But to do so, the section 505(b)(2) NDA “can rely

on clinical studies that were previously submitted to the FDA in support of another drug and that

were not conducted or licensed by the [section] 505(b)(2) sponsor.” Id. at 109 (brackets omitted).

       To “incentivize pharmaceutical companies and reward them for researching and

developing innovative drugs,” Congress also established certain marketing exclusivities. Id. at

119. Relevant here, Congress provided for a three-year marketing exclusivity in connection with

the completion of a new clinical investigation to secure approval for a new use of an already-

approved active ingredient. Section 505(c)(3)(E)(iii) provides:

       If an application submitted under [§ 505(b)] for a drug, which includes an active
       moiety … that has been approved in another application approved under [§ 505(b)],
       is approved after September 24, 1984, and if such application contains reports of
       new clinical investigations (other than bioavailability studies) essential to the
       approval of the application, the Secretary may not make the approval of an
       application submitted under [§ 505(b)] for the conditions of approval of such drug
       in the approved [§ 505(b)] application effective before the expiration of three years
       from the date of the approval of the application under [§ 505(b)] if the
       investigations described in subsection (b)(1)(A)(i) and relied upon by the applicant
       for approval of the application were not conducted by or for the applicant and if the
       applicant has not obtained a right of reference or use from the person by or for
       whom the investigations were conducted.

21 U.S.C. § 355(c)(3)(E)(iii). 1 That is both a narrower and a shorter period of exclusivity than the

one granted to the first manufacturer to win approval of an entirely new chemical entity.

       The “statutory provision is clear as to how three-year exclusivity operates and can be

unambiguously parsed into essentially two components: entitlement to exclusivity and scope of

that exclusivity.” Veloxis, 109 F. Supp. 3d at 116.




1
  A parallel provision ensures that the same exclusivity blocks approval of ANDAs on essentially
the same terms as 505(b)(2) applications. See 21 U.S.C. § 355(j)(5)(F)(iii).


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        Entitlement:    “Under the plain language of this provision, entitlement to three-year

exclusivity requires” three things: (1) a 505(b) NDA; (2) a previously approved active moiety; and

(3) “at least one new clinical investigation, excluding bioavailability studies, that is essential to the

conditions of approval for the 505(b) drug.” Id. (footnote omitted). “In other words,” this

exclusivity applies “when a pharmaceutical company obtains approval to market a previously

approved active moiety in a new formulation or for new purposes, and doing so requires it to

furnish new clinical investigations to the FDA.” Otsuka Pharm. Co. v. Price, 869 F.3d 987, 990

(D.C. Cir. 2017). FDA regulations define a “[c]linical investigation” to mean “any experiment

other than a bioavailability study in which a drug is administered or dispensed to, or used on,

human subjects.” 21 C.F.R. § 314.108(a). Agency regulations further define the full phrase “new

clinical investigation” as:

        an investigation in humans the results of which have not been relied on by FDA to
        demonstrate substantial evidence of effectiveness of a previously approved drug
        product for any indication or of safety for a new patient population and do not
        duplicate the results of another investigation that was relied on by the agency to
        demonstrate the effectiveness or safety in a new patient population of a previously
        approved drug product.

21 C.F.R. § 314.108(a). By contrast, FDA regulations define a “[b]ioavailability study” as one “to

determine the bioavailability or pharmacokinetics of a drug.” Id. Bioavailability studies are

performed by applicants (including both 505(b)(2) and ANDA applicants) to show that “the rate

and extent of absorption of the drug” is equivalent to the corresponding “pioneer drug.” Astellas

Pharma US, Inc. v. FDA, 642 F. Supp. 2d 10, 13-14 (D.D.C. 2009). Bioavailability studies are

intended only to show how a drug moves through the system of a healthy subject and do not

provide independent evidence that a drug is safe or effective for its intended use. Abbreviated

New Drug Application Regulations, 54 Fed. Reg. 28,872, 28,899 (July 10, 1989).

        Scope: Once “exclusivity is appropriately granted to the drug that is the subject of the first-



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in-time 505(b) NDA,” FDA “may not approve a second-in-time” 505(b)(2) application (or ANDA)

“that shares ‘conditions of approval’ with the first-in-time 505(b) drug.” Veloxis, 109 F. Supp. 3d

at 117 (citation omitted). An applicant that wants approval for the same “conditions of approval”

during its rival’s period of exclusivity must conduct its own trials and submit a 505(b)(1)

application, rather than use the abbreviated 505(b)(2) or ANDA pathways relying on others’ data.

       FDA “has consistently interpreted” the undefined phrase “conditions of approval” “as the

innovation represented by the approved product for which new clinical investigations were

essential to approval.” FDA-000093-94; accord Liquidia Opening Br. 34-35 (asserting that this

phrase is “ambiguous,” but endorsing FDA’s longstanding “scope of innovation” interpretation).

In “identifying the innovation,” FDA asks “what unique clinical question(s) about the safety and/or

efficacy of the active moiety for the relevant use do the new clinical investigations essential to

approval answer for the first time.” FDA-000114 (emphasis omitted); accord FDA-000421. FDA

has recognized that the scope of exclusivity under this test may differ from the specific parameters

of the underlying clinical investigation that triggered exclusivity. For example, “a particular

clinical investigation may be more limited in scope or more specific than the conclusions (and thus

the scope of exclusivity) that can be drawn from it.” FDA-000116; accord FDA-000423.

       The breadth of exclusivity granted for new innovations depends on the innovations that

have preceded them. See FDA-000443 (“The scope of a product’s exclusivity is determined

relative to previously approved products ….”). The first grant of exclusivity, for five years, is

broad such that “if the innovation relates to a new active moiety or ingredient, then exclusivity

protects the pioneer drug product from other competition from products containing that moiety or

ingredient,” in any form and for any use. FDA-000419 (citation omitted). Subsequent innovations

receive three years of exclusivity protection for the incremental gain demonstrated in the new




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clinical investigation. See id. For instance, innovations concerning “a new dosage form or route

of administration” receive grants of exclusivity that “protect[] only that aspect of the drug product,

… not the active ingredients.” Id. (citation omitted). Likewise, innovations for “a new use”

receive exclusivity grants that “protect[] only that labeling claim and not the active ingredients,

dosage form, or route of administration.” Id. (citation omitted).

II.    Factual Background

       A.      UTC develops novel treatments for pulmonary hypertension.

       This case concerns UTC’s product Tyvaso DPI, a prescription drug product containing the

active pharmaceutical ingredient treprostinil, which is used to treat pulmonary hypertension (PH).

PH is a rare, chronic, and often fatal disease generally characterized by increased pressure in the

pulmonary blood vessels. Compl. ¶ 38. That increased pressure strains the heart and, over time,

can result in heart failure and death. Id. The World Health Organization has designated five

subcategories of PH differing in cause and expected clinical outcomes. Treprostinil is one of a

number of therapies approved for Group I PH (also known as pulmonary arterial hypertension

(PAH)).     Treprostinil is the only therapy ever approved to treat patients with pulmonary

hypertension associated with interstitial lung disease (PH-ILD), a subcategory of Group III PH.

       UTC is a public benefit corporation created to develop treatments for PH patients, and it

has pioneered many such treatments. UTC’s treprostinil-based drug products include: an infusion

administered subcutaneously or intravenously (Remodulin), an extended-release tablet

(Orenitram), a nebulized inhalation solution (Tyvaso), and a dry powder inhaler (Tyvaso DPI).

       In 2009, FDA approved Tyvaso, the first inhaled treprostinil therapy to treat PAH.




               Tyvaso is a solution taken four times a day using a powered nebulizer, the Tyvaso


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Inhalation System, “an ultrasonic, pulsed delivery device” that allows patients to receive

treatments in “2 to 3 minutes” per session. FDA-000638-639.

       Tyvaso was initially approved only to treat PAH. In 2021, following a clinical trial known

as INCREASE, UTC discovered that inhaled treprostinil can achieve clinical benefit in patients

with PH-ILD. See FDA-000425. FDA subsequently approved Tyvaso for the treatment of patients

with PH-ILD. See FDA-000129.

       B.      FDA requires UTC to conduct a new clinical investigation to assess the safety
               and tolerability of treprostinil in a dry powder formulation, and then approves
               Tyvaso DPI based on that investigation.

       Following the approval of Tyvaso, UTC continued its efforts to innovate for PH patients.

Relevant here, UTC pursued FDA approval of a novel dry powder formulation of treprostinil. That

product, Tyvaso DPI, is a drug-device combination product with plastic cartridges containing

treprostinil dry powder for inhalation. FDA-000424. Tyvaso DPI, for the first time, “enable[s]

patients to go about their day with just a small breath-actuated, dry powder inhaler that easily fits

in a side pocket and requires no batteries or external power source to operate.” FDA-000145

(quotation marks omitted). Patients have reported “significant satisfaction with and preference for

the use of” Tyvaso DPI over the nebulizer. FDA-000762.

       In preparing its Tyvaso DPI NDA, UTC had to invest in a new study to convince FDA to

approve the new dosage form. Specifically, UTC executed a development plan requested by FDA

to show that a dry powder formulation of treprostinil would be safe and tolerable for patients.

Although FDA had previously approved treprostinil for use by oral inhalation (Tyvaso), the agency

had concerns about the safety and tolerability of the new dry powder formulation. FDA-000432-

433. Treprostinil has known tolerability issues, including inducing cough, headache, throat

irritation, and nausea. FDA-000433. FDA worried the new “powder dosage form could present

new or worse tolerability issues than those observed with treprostinil inhalation solution,” such as


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a risk of choking.    Id.   Thus,



                                                                   . Rather,




                                                       .

          UTC followed FDA’s direction, conducting what is referred to as the BREEZE study.

The BREEZE study was an open-label clinical study that examined participants with PAH who

were on a “stable regimen of Tyvaso” and then were switched to a corresponding dose of Tyvaso

DPI. FDA-000760. Participants underwent pharmacokinetics assessments, safety assessments,

and an efficacy assessment (a six-minute walk test) both before and after they switched to Tyvaso

DPI. FDA-000760. The six-minute walk test is often used in PH patients to assess disease

progression. See FDA-000472. The “primary objective of this study [was] to evaluate the safety

and tolerability of [Tyvaso DPI]” for people with PAH who were being treated with Tyvaso. FDA-

000760.     The “[s]econdary objectives” included “evaluat[ing] the systemic exposure and

pharmacokinetics (PK) of treprostinil in subjects with PAH when delivered as Tyvaso and [Tyvaso

DPI].” FDA-000760.

       The BREEZE study was successful. As FDA later noted, the BREEZE study’s “results did

not show a substantial increase in adverse events associated with the transition from Tyvaso to

Tyvaso DPI” and “[n]o new risks associated with treprostinil formulated as an inhaled powder

(Tyvaso DPI) were identified.” FDA-000427. The BREEZE study thus assuaged the safety and

tolerability concerns regarding chronic use of a treprostinil inhaled powder that had led FDA to

request the study in the first place. The BREEZE study’s efficacy endpoints showed equivalent




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clinical effect as well. FDA-000910. In short, BREEZE demonstrated, for the first time, that dry

powder treprostinil was safe and tolerable and was not associated with any decline in efficacy.

See, e.g., FDA-000910. FDA concluded that the study supported approval of Tyvaso DPI “for

treatment of both PAH and PH-ILD patients who are new to treprostinil inhalation treatment and

such patients who transition from Tyvaso inhalation solution,” FDA-000447.

       On April 16, 2021, armed with the results of BREEZE, UTC submitted a 505(b)(1) NDA

for Tyvaso DPI. In addition to the BREEZE study, UTC relied on two additional Tyvaso DPI

studies (the MKC-475-001 study 2 and the TIP-PH-102 study) and two studies it had previously

submitted in support of the Tyvaso NDA (the TRIUMPH I and INCREASE studies). FDA-

000424-425. TIP-PH-102 was a six-period crossover study that compared the systemic exposure

of three doses of Tyvaso DPI and three doses of Tyvaso in healthy volunteers. FDA-000429.

Meanwhile, the TRIUMPH I study was a 12-week, randomized, double-blind, placebo-controlled

study that included clinically stable subjects with PAH. FDA-000425. The INCREASE study

was a 16-week, randomized, double-blind, placebo-controlled study, but the study examined

patients with PH-ILD. Id. Patients who received Tyvaso improved their six-minute walk distance

by 21 meters compared to those receiving the placebo. Id.

       On May 23, 2022, FDA granted final approval to Tyvaso DPI for use in treating PAH and

PH-ILD. FDA-000413.

                                                                                          On the

same day as this approval, FDA denied a citizen petition filed by Liquidia, which had argued that

FDA should not approve Tyvaso DPI “in the absence of additional clinical data demonstrating that




2
 The MKC-475-001 Study was a single-dose, open-label, dose escalation study of Tyvaso DPI in
“healthy normal volunteers.” FDA-000426.


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it is safe for use in the intended patient population, i.e., patients with certain chronic lung diseases

and compromised pulmonary function.” FDA-000563; see FDA-000582-96. FDA determined

that “the existing clinical data (primarily from the BREEZE study) are adequate to support product

approval as labeled,” and the agency rejected Liquidia’s argument that BREEZE was inadequate

to address any safety concerns. FDA-000590-93.

        Following its approval decision, the Division of Cardiology and Nephrology completed a

preliminary checklist form regarding potential eligibility of Tyvaso DPI for marketing exclusivity.

FDA-000453-459. In that checklist form, the Division checked a box for “No” in answer to the

question whether UTC’s NDA required “the review of clinical data other than to support a safety

claim.” FDA-000453. The Division acknowledged that the NDA “provides for a new dosage

form of treprostinil,” and that the approval decision had relied on a study that established “safety”

and “tolerability” in addition to “bioavailability.” Id. The Division asserted in a single conclusory

sentence that “[t]he safety and tolerability study provided confirmatory efficacy information only,”

without explaining why any such limitation was relevant to exclusivity given the new information

provided on safety and tolerability. Id. Later in the form, the Division also checked the box for

“No” in response to the question whether the application “contain[s] reports of clinical

investigations.” FDA-000455. No further explanation was provided. Id. This preliminary

determination on potential exclusivity by the Division—rather than by the CDER Exclusivity

Board 3—had no impact at the time, because no applications sharing the same active moiety and



3
   FDA, through CDER, established the Exclusivity Board “to provide oversight and
recommendations regarding exclusivity determinations made by [CDER], with a primary focus on
clarity and consistency of decisions.” FDA, CDER Exclusivity Board (Dec. 15, 2014), www.fda.
gov/about-fda/center-drug-evaluation-and-research-cder/cder-exclusivity-board. In this role, the
Exclusivity Board is the designated component of the agency with specific expertise on applicable
marketing exclusivities: it “oversee[s] certain exclusivity determinations, including whether and
what type of exclusivity should be granted and the appropriate scope of exclusivity grants.” Id.


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conditions of approval as Tyvaso DPI were otherwise ready for final approval.

       C.      Liquidia files a 505(b)(2) application to market a treprostinil product in a dry
               powder dosage form, and then submits letters to FDA regarding UTC’s
               potential three-year exclusivity for Tyvaso DPI.

       On January 24, 2020, Liquidia submitted an NDA under section 505(b)(2) for a treprostinil

oral inhalation powder drug, which Liquidia now calls Yutrepia. FDA-001257. Liquidia’s

505(b)(2) application relied on, among other things, FDA’s findings of safety and efficacy for

UTC’s Tyvaso product. FDA-000430. In its original application, Liquidia only sought FDA

approval to market Yutrepia for the treatment of PAH. See FDA-0001257, 001260. On November

4, 2021, FDA issued a tentative approval letter to Liquidia based on that PAH application,

explaining that final approval was barred by a 30-month stay triggered by UTC’s timely assertion

of patents it had listed for Tyvaso. FDA-001257-58. FDA further noted that final approval “cannot

be granted” until after that stay expired and “we are assured there is no new information that would

affect whether final approval should be granted.” FDA-001257-1258. Then, after FDA approved

UTC’s supplemental application to market Tyvaso for PH-ILD, Liquidia submitted an amendment

to its pending application, purporting to add the PH-ILD indication and once again relying on

UTC’s clinical trials. FDA-001292.

       From the beginning, Liquidia recognized that approval of UTC’s Tyvaso DPI could result

in UTC receiving a three-year new clinical trial marketing exclusivity that could block final

approval of Liquidia’s competing dry powder treprostinil product. Liquidia submitted multiple

confidential letters to FDA, arguing that the agency should either refuse to recognize any three-

year exclusivity for Tyvaso DPI or, alternatively, define such exclusivity narrowly. Liquidia

submitted its first letter to FDA on July 15, 2021, when UTC’s NDA for Tyvaso DPI was still

pending, see FDA-000001-19, and then submitted a supplemental letter on July 25, 2022, after

FDA had approved Tyvaso DPI, see FDA-000283-292. Notably, in neither letter did Liquidia ever


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argue that BREEZE could not trigger exclusivity because it was a bioavailability study. See FDA-

000436. To the contrary, Liquidia contended only that a separate “pivotal PK study”—TIP-PH-

102—was a “bioavailability study” that does not qualify for exclusivity, and Liquidia addressed

that study separately from BREEZE. See FDA-000007-8, 000436 n.87. As to BREEZE, Liquidia

argued that it was a “general safety study” and also was not “essential to approval” of Tyvaso DPI.

E.g., FDA-000001; FDA-000285. Alternatively, Liquidia argued that FDA should restrict the

scope of the marketing exclusivity secured based on the BREEZE study to the (1) “unique

formulation” of Tyvaso DPI containing a particular inactive ingredient (fumaryl diketopiperazine,

or “FDKP”), and (2) a patient population comprised of patients with PAH who switch to Tyvaso

DPI from Tyvaso. E.g., FDA-000002.

       D.      UTC and Liquidia engage in litigation related to Liquidia’s 505(b)(2)
               application, including as to FDA’s acceptance of Liquidia’s amendment to add
               a new indication.

       Liquidia’s submission of its section 505(b)(2) NDA launched a series of disputes between

the parties concerning Liquidia’s infringement of UTC’s patents, the validity of those patents, and,

later, FDA’s acceptance of Liquidia’s amendment to its pending NDA to add a new indication.

       As relevant here, in February 2024, UTC filed suit against FDA in this District alleging

that FDA had violated the Administrative Procedure Act (APA) and long-established agency

policy by accepting Liquidia’s amendment to add a new indication (PH-ILD) to its pending section

505(b)(2) application. UTC Cross-Compl. ¶ 11; Compl. ¶ 76, ECF No. 1; Compl., UTC v. FDA,

No. 24-cv-484 (D.D.C. Feb. 20, 2024), ECF No. 1. Liquidia intervened as a defendant in the

action. Minute Order, UTC v. FDA, No. 24-cv-484 (D.D.C. Mar. 5, 2024). Because final approval

of Liquidia’s application would cause UTC to suffer irreparable harm, UTC also sought to

preliminarily enjoin FDA from approving Liquidia’s NDA for Yutrepia for the PH-ILD indication.

The district court (Bates, J.) denied the motion, reasoning that FDA’s decision accepting Liquidia’s


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amendment for review likely was not final agency action. UTC v. FDA, No. 24-cv-484, ECF No.

34 (D.D.C. Apr. 5, 2024). But recognizing that a final approval decision could immediately ripen

UTC’s claim for irreparable harm, the Court ordered FDA to provide the Court and parties with at

least three business days’ notice prior to issuing any decision on Liquidia’s amended NDA. ECF

No. 18 (No. 24-cv-484). On August 13, 2024, FDA provided notice pursuant to the Court’s order,

without specifying the substance of the decision.

       E.      FDA determines that Tyvaso DPI is entitled to three-year exclusivity for the
               BREEZE study, blocking final approval of Liquidia’s 505(b)(2) product.

       On August 16, 2024, FDA issued a tentative approval decision to Liquidia for Yutrepia

covering both the PAH and PH-ILD indications, stating that final approval was subject to a period

of unexpired marketing exclusivity. FDA-001292. FDA explained its exclusivity decision in a

contemporaneously issued, 39-page letter to Liquidia, which concluded that “Tyvaso DPI qualifies

for 3-year exclusivity and that the exclusivity for Tyvaso DPI delays the approval of Yutrepia.”

FDA-000413-52. FDA’s letter decision drew substantially from a 38-page internal memorandum

issued by the CDER Exclusivity Board on August 13, 2024. FDA-000460-497. Based on the

Exclusivity Board’s memorandum, the Division issued an “updated” “Exclusivity Summary” on

August 14, 2024, which expressly “supersedes the original one” from May 2022. FDA-000498-

515. The updated summary “reflects the Division’s agreement with the recommendations in the

CDER Exclusivity Board memorandum.” FDA-000498, 000511.

       As set out in FDA’s letter to Liquidia, FDA explained that Tyvaso DPI is entitled to three-

year exclusivity because “the application includes a new clinical investigation (other than a

bioavailability study) that was essential to approval and conducted or sponsored by the applicant—

the BREEZE study.” FDA-000431. In reaching that conclusion, FDA first considered whether

BREEZE was a new clinical investigation (other than a bioavailability study). FDA-000431-433.



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FDA answered in the affirmative, explaining that BREEZE was an experiment in which a drug

was provided to human subjects whose “primary endpoint was safety and tolerability.” FDA-

000432. It could not be classified as merely a “bioavailability” study, because although BREEZE

“also assessed pharmacokinetics after administration of each dose as a secondary endpoint,” the

study “specifically evaluated the safety and tolerability of Tyvaso DPI and additionally provided

limited efficacy data.” FDA-000432. As the CDER Exclusivity Board noted in its memorandum,

Liquidia did “not contest that the BREEZE study was a new clinical investigation (other than a

bioavailability study).” FDA-000483.

       FDA further determined that BREEZE was a “new” clinical investigation because the

agency had not previously “relied on its results to demonstrate substantial evidence of

effectiveness of a previously approved drug product for any indication or of safety for a new patient

population.” FDA-000432. In so finding, FDA rejected Liquidia’s argument that BREEZE was

only a “general safety study.” FDA-000436 (citation omitted). FDA acknowledged (without

endorsing) Liquidia’s assertion that FDA regulations precluded awarding exclusivity based on a

safety study that did not “permit broader use of a drug nor establish safety of a drug for a new

patient population.” FDA-000436 n.87. FDA explained that it “need not address this particular

claim” because BREEZE was “not a general safety study,” id.; rather, BREEZE “permitted broader

use of treprostinil” by providing the data necessary to support the approval of a new dosage form

of treprostinil for chronic use—a dosage form that provided significant advantages over existing

treatment options, “thus permitting broader use of the drug.” FDA-000436-437.

       Next, FDA found that BREEZE was “essential” to the approval of Tyvaso DPI because the

study “addressed an important safety question, specifically the tolerability of the inhalation powder

dosage form of treprostinil” that was “not available from any other source.” FDA-000433. FDA




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noted that treprostinil was “known to present tolerability challenges,” and that the agency had been

concerned the “novel” “inhalation powder dosage form could present new or worse tolerability

issues than those observed with Tyvaso.” Id. As a result, FDA “did not believe” single-dose

bioavailability studies, such as the MKC-475-001 and TIP-PH-102 studies, “w[ere] adequate to

assess safety and tolerability of the new inhalation powder for chronic use.” FDA-000433. The

BREEZE study filled the gap by providing “essential data on patient tolerability with multiple-

dose use.” FDA-000434-435 (alterations and citation omitted).

       FDA rejected Liquidia’s argument that BREEZE was merely a confirmatory study that

provided “only supportive information for the application,” explaining that Liquidia

“misunderst[ood] the nature of the BREEZE study and its role” in the application. FDA-000438-

439. Rather, consistent with the Division’s contemporaneous recommendation for a “short-term

safety and tolerability study” that went beyond establishing similar bioavailability between Tyvaso

DPI and Tyvaso, BREEZE provided a “vital piece” of information to approve the new dosage

form. FDA-000439. “Without the BREEZE study, the Division would not have had sufficient

information regarding the safety and tolerability of multiple dosages of the new dosage form of

treprostinil to support approval.” FDA-000435. FDA also rejected Liquidia’s various technical

objections to the BREEZE study as being supposedly inadequate to support findings of safety and

tolerability, and the agency explained that neither the statute nor FDA regulations require a study

to be a “major, pivotal trial” to be exclusivity-eligible. FDA-000439-440.

       Having determined that Tyvaso DPI qualifies for three-year exclusivity, FDA next

addressed the scope of that exclusivity and found that it blocked final approval of Yutrepia. FDA-

000440-451. The “first step of the scope inquiry focuses on the drug with three-year exclusivity,”

and is not in dispute here: Tyvaso DPI and Yutrepia “are both single-entity drugs that contain the




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same active moiety, treprostinil.” FDA-000440-441. The second step addresses the “conditions

of approval” for Tyvaso DPI as determined by identifying “the innovation” in UTC’s NDA “for

which the underlying new clinical investigations [i.e., BREEZE] were essential to the approval as

compared to previously approved drug products containing the same active moiety.” FDA-

000441. FDA found that the “innovation represented by Tyvaso DPI for which a new clinical

investigation was essential is the inhalation powder dosage form for the active moiety treprostinil

for chronic use.” FDA-000442. As the agency noted, BREEZE was “essential to [FDA’s] safety

findings in approving Tyvaso DPI as the first approved treprostinil inhalation powder.” Id.

       FDA rejected Liquidia’s arguments for narrower conditions of approval limited to

(1) Tyvaso DPI’s specific formulation containing the inactive ingredient FDKP, and (2) the patient

population enrolled in BREEZE. FDA-000443-444. Exercising its scientific judgment, FDA

determined that neither characteristic was clinically meaningful and thus did not serve to “further

define or limit the scope of Tyvaso DPI’s exclusivity.” FDA-000443. Beginning first with the

presence of FDKP, FDA explained that it had required a study to assess the safety and tolerability

of multiple doses of treprostinil inhalation powder as a general matter; BREEZE “was not needed

to assess the safety of FDKP in Tyvaso DPI’s formulation.” FDA-000445. As the agency noted,

in denying Liquidia’s citizen petition, “FDA disagreed” with Liquidia’s assertions regarding “the

risks …. associated with FDKP.” Id. Turning to patient population, FDA disagreed that the scope

of exclusivity should be limited to PAH patients switching from Tyvaso to Tyvaso DPI. FDA-

000447. FDA explained that a drug studied “in very specific conditions might be approved with

a broader indication” and need not be limited to the parameters under which it was studied. FDA-

000447. Because, as a matter of FDA’s scientific judgment, BREEZE supported approval of

Tyvaso DPI for PAH and PH-ILD patients who were either “new to treprostinil inhalation




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treatment” or had transitioned from Tyvaso, FDA concluded that Tyvaso DPI’s exclusivity is not

limited to the specific patient population studied in BREEZE. FDA-000447-448.

       F.      The current litigation.

       Following FDA’s tentative approval decision, Liquidia filed suit against the agency to

challenge its conclusion that final approval of Yutrepia is blocked until May 23, 2025 by UTC’s

unexpired three-year exclusivity for Tyvaso DPI. ECF No. 1. The Court granted UTC’s motion

to intervene, as well as the parties’ joint motion to consolidate Liquidia’s motion for preliminary

injunction with cross-motions for summary judgment.

       Meanwhile, UTC voluntarily dismissed its initial action against FDA and then reasserted,

as a crossclaim in this action, its challenge to FDA’s decision accepting Liquidia’s amendment to

add a new indication for PH-ILD to a pending 505(b)(2) application. ECF No. 30, Crossclaim. If

UTC’s crossclaims succeed, the resulting order would preclude FDA from granting final approval

to Liquidia’s current bundled application independent of any question regarding the unexpired

three-year exclusivity for Tvyaso DPI. UTC moved to expedite production of the administrative

record to permit timely briefing on the merits of its crossclaim; FDA opposes. ECF Nos. 36; 43.

                                    LEGAL STANDARDS

       The summary judgment standard “functions slightly differently” in the APA context, as the

“court must limit its review to the ‘administrative record’ and the facts and reasons contained

therein to determine whether the agency’s action was consistent with the relevant APA standard

of review.” Policy & Rsch., LLC v. HHS, 313 F. Supp. 3d 62, 74 (D.D.C. 2018) (citation and

quotation marks omitted). Under the APA, this Court cannot set aside FDA’s agency action unless

it is “arbitrary, capricious, an abuse of discretion, or otherwise not in accordance with law.” 5

U.S.C. § 706. The “scope of review under the ‘arbitrary and capricious’ standard is narrow and a

court is not to substitute its judgment for that of the agency.” Fulbright v. McHugh, 67 F. Supp.


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3d 81, 89 (D.D.C. 2014) (citation omitted). Review under the “arbitrary and capricious” standard

is “highly deferential” and “presumes the agency’s action to be valid.” Id. (citation omitted).

       Liquidia strains to wave the banner of Loper Bright Enterprises v. Raimondo, 144 S. Ct.

2244 (2024), attributing significance to the fact that its “claims arise after” that decision, “unlike

every prior case addressing” three-year exclusivity. Liquidia Opening Br. 20. But despite

rhetorical flourishes accusing FDA of “flout[ing] the FDCA,” id. at 25, Liquidia largely accepts

FDA’s longstanding interpretations of the relevant statutory provisions, including for phrases

Liquidia asserts are ambiguous. See, e.g., id. at 26 (stating that FDCA “does not define ‘new

clinical investigations,’” and then basing its argument on “FDA’s implementing regulations”); id.

at 29-30 (relying on FDA’s regulatory definition of “essential to approval” without advancing an

independent statutory argument), 34-35 (describing statutory phrase “conditions of approval” as

“ambiguous,” but then endorsing understanding what “FDA has opined before” is “best reading”

of statute). Rather than dispute FDA’s statutory interpretations, Liquidia repeatedly challenges

FDA’s scientific judgments in applying undisputed legal standards to the BREEZE study. Nothing

in Loper disturbed the understanding that courts “give a high level of deference to [an] agency’s

scientific analysis of the evidence before it, and must avoid unduly second-guessing those

scientific judgments.” Pharm. Mfg. Rsch. Servs. v. FDA, 957 F.3d 254, 262 (D.C. Cir. 2020)

(quotation marks, brackets, and citations omitted); accord Loper Bright, 144 S. Ct. at 2263

(distinguishing arbitrary and capricious review from de novo statutory interpretation); Ctr. for

Biological Diversity v. E.P.A., 749 F.3d 1079, 1087 (D.C. Cir. 2014) (collecting cases pre- and

post-Chevron recognizing deference courts owe to agency’s scientific judgments).

       Liquidia also renews its motion for preliminary injunction. A preliminary injunction is

only appropriate if the movant establishes “1) a substantial likelihood of success on the merits,




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2) that it would suffer irreparable injury if the injunction is not granted, 3) that an injunction would

not substantially injure other interested parties, and 4) that the public interest would be furthered

by the injunction.” Mova Pharm. Corp. v. Shalala, 140 F.3d 1060, 1066 (D.C. Cir. 1998). Liquidia

has not established those four factors here.

                                            ARGUMENT

I.      FDA’s Decision Should Be Upheld Because FDA Did Not Exceed Its Legal Authority
        in Finding That Tyvaso DPI Is Eligible for Exclusivity.

        Nothing in FDA’s thorough Exclusivity Decision remotely suggests that the agency acted

arbitrarily, capriciously, or otherwise unlawfully. What Liquidia paints as legal challenges to

FDA’s decision boil down to unsupported attacks on its scientific judgment. In concluding that

UTC’s innovative breakthrough, Tyvaso DPI, is entitled to three-year exclusivity, FDA

appropriately determined that BREEZE was a new clinical investigation (other than a

bioavailability study) that was essential to the approval of Tyvaso DPI. This Court should deny

Liquidia’s motion for summary judgment and grant UTC’s motion.

        A.     FDA correctly determined that the BREEZE study is not an ineligible
               “bioavailability study” within the meaning of section 505(c)(3)(E)(iii).

       Three-year exclusivity is awarded to an NDA sponsor that conducts “new clinical

investigations (other than bioavailability studies) essential to the approval of the application.” 21

U.S.C. § 355(c)(3)(E)(iii). FDA correctly determined that the BREEZE study reported new

clinical investigations that went beyond merely reporting data on bioavailability and, thus, entitled

UTC to exclusivity. FDA-000431. Indeed, UTC conducted BREEZE—a three-week study

exposing participants to multiple doses of Tyvaso DPI—precisely because FDA advised that a

bioavailability study comparing the pharmacokinetics of Tyvaso DPI to Tyvaso would not be

sufficient to secure approval for Tyvaso DPI. FDA-000433-434. Instead, FDA recommended

new clinical investigations to evaluate “safety and tolerability” of Tyvaso DPI “following repeat


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doses.” FDA-000434. That is precisely what BREEZE delivered, with assessments of “safety and

tolerability” identified as the “primary endpoint” for the study. FDA-000319, 000426, 000760.

       Liquidia now accuses FDA (at 23) of going “against the clear language of the FDCA and

FDA regulations here by allowing a study that evaluates bioavailability to support exclusivity,”

merely because the study “also assessed pharmacokinetics after administration of each dose” of

Tyvaso DPI as one of four “secondary endpoint[s].” FDA-000432. 4 Notably, despite its stridency

now, Liquidia never pressed this argument to FDA in either of its two letter submissions. See p.

15, supra. Nor could Liquidia’s silence on the point be characterized as an oversight, as Liquidia

did argue that UTC’s “pivotal PK study”—TIP-PH-102—was a “bioavailability study that cannot

be used to support three-year exclusivity for Tvyaso DPI.” FDA-000008. Unsurprisingly then, in

issuing its decision, FDA understood that “Liquidia does not contest that the BREEZE study was

a new clinical investigation (other than a bioavailability study).” FDA-000436 (emphasis added).

Liquidia should not be allowed to do an about-face now and press a new argument that it abjured

before the agency. See, e.g., Veloxis, 109 F. Supp. 3d at 123-24 (holding that the plaintiff had

waived its challenge to whether a study was a “new clinical investigation” by failing to “give the

FDA an opportunity to consider the merits of its arguments”).

       But even if Liquidia’s failure to exhaust is overlooked, its new challenge is baseless.

FDA’s conclusion that BREEZE is not an ineligible bioavailability study is consistent with the

FDCA and FDA regulations, and it is not arbitrary or capricious.

           1. Liquidia’s contention that BREEZE was an ineligible “bioavailability study”
              has no basis in the FDCA or FDA regulations.

       As noted, p. 4, supra, the FDCA provides that a study will trigger three-year exclusivity


4
 As noted, p. 9, supra, the other secondary endpoints were “[six]-minute walk distance (6MWD,
an efficacy endpoint)), PAH-Symptoms and Impact (PAH-SYMPACT) Questionnaire, and
Preference Questionnaire for Inhaled Treprostinil Devices (PQ-ITD).” FDA-000426.


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for the approved drug product if it “contains reports of new clinical investigations (other than

bioavailability studies).” FDA regulations, which Liquidia endorses (at 22-23), define a “[c]linical

investigation” to mean “any experiment other than a bioavailability study in which a drug is

administered or dispensed to, or used on, human subjects.” 21 C.F.R. § 314.108(a). And FDA

regulations define “bioavailability study,” in turn, as “a study to determine the bioavailability or

the pharmacokinetics of a drug.” Id. Applying those undisputed definitions, FDA’s determination

that BREEZE contains reports of a clinical investigation is plainly correct.

       Liquidia asserts (at 23) that “FDA went against the clear language of the FDCA and FDA

regulations here by allowing a study that evaluates bioavailability to support exclusivity.” But

Liquidia is the one that tries to rewrite the text. The statute does not bar eligibility for any study

that “evaluates bioavailability.” Rather, exclusivity is potentially available if the application

“contains reports of new clinical investigations” that are not limited to assessing bioavailability.

21 U.S.C. § 355(c)(3)(E)(iii). And UTC’s NDA for Tyvaso DPI plainly “contains” such a report.

Indeed, BREEZE’s “primary endpoint”—i.e., the study’s objective—was to evaluate “safety and

tolerability.” FDA-000426, 000432, 000437 n.92 (emphasis added). BREEZE involved the

administration of Tyvaso DPI to 51 human subjects over multiple weeks. FDA-000426. Although

the study did assess pharmacokinetics as one of four secondary endpoints, BREEZE was not

structured solely to “determine the bioavailability or the pharmacokinetics of a drug.” 21 C.F.R.

§ 314.108(a). At a minimum, the fact that BREEZE designated safety and tolerability as its

primary endpoint confirms it is not a bioavailability study, since the primary endpoint sets a

study’s objective. See FDA, Draft Guidance: Multiple Endpoints In Clinical Trials Guidance For

Industry, 2017 WL 345609, at *10 (Jan. 2017) (“The endpoint(s) that will be the basis for

concluding that the study met its objective (i.e., the study ‘wins’) is designated the primary




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endpoint or primary endpoint family.”); HHS, Endpoint, toolkit.ncats.nih.gov/glossary/endpoint

(“Primary endpoints will be the basis for determining whether the study met its objective or, in the

case of interventional [clinical] trials, will be the main data evaluated for regulatory approval.”).

       Resisting that conclusion, Liquidia tries a diversion, asserting that “BREEZE qualifies as

a bioavailability study under the FDCA and FDA regulations” because “the only endpoints in

BREEZE for which there was any pre-specified ‘statistical analysis’ were ‘[p]harmacokinetic

assessments.’” Liquidia Opening Br. 23 (quoting FDA-000319). Both the premise and conclusion

are wrong. The very page Liquidia cites states that “[n]o formal statistical analysis plan was

formulated for the secondary endpoints,” which includes pharmacokinetic assessments. FDA-

000319 (emphasis added). And in any event, nothing in the FDCA or FDA regulations suggests a

study’s characterization turns on which parameters have a “pre-specified ‘statistical analysis.’”

There is no basis for Liquidia to dispute FDA’s scientific understanding that the primary endpoint

for BREEZE was the safety and tolerability analysis that the agency had requested.

       Liquidia is thus left to argue (at 22-23) that because BREEZE includes some

“bioavailability” data, it must be a “bioavailability study”—indeed, that it must be only a

bioavailability study, such that UTC’s application including BREEZE cannot even be said to

“contain[] reports of new clinical investigations (other than bioavailability studies).” 21 U.S.C.

§ 355(c)(3)(E)(iii) (emphasis added). But that does not follow, and Liquidia conspicuously ignores

the regulatory definition of “bioavailability study” as a study intended “to determine” a drug’s

bioavailability or pharmacokinetics. 21 C.F.R. § 314.108(a). 5 A study directed to a different



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  Instead, Liquidia relies (at 22-23) on the statutory and regulatory definition of “bioavailability”
in isolation. But there is no dispute that BREEZE “assessed pharmacokinetics after administration
of each dose as a secondary endpoint.” FDA-000432. Rather, the issue whether conducting such
a secondary assessment alongside the primary evaluation of safety and tolerability reduces



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primary objective is not naturally regarded as a study “to determine” pharmacokinetics merely

because some pharmacokinetic assessments are included. To the contrary, it is common to refer

to items by reference to their primary purpose, rather than various secondary features. An “energy

drink” is a drink designed to increase energy, not any beverage that contains calories. A “picture

book” is a book centered around a visual narrative, not any book that happens to have photos. A

“rain coat” is a coat that keeps you dry, not any jacket you happen to be wearing when a downpour

begins.     The same plain-English insight guides the meaning of section 505(c)(3)(E)(iii): a

bioavailability study is a study whose purpose is to assess bioavailability, not any study that has

some pharmacokinetic data.

          Liquidia identifies nothing in the text of the FDCA or agency regulations that supports its

alternative interpretation, under which bioavailability data effectively contaminates anything it

touches, turning any clinical investigation that includes any pharmacokinetic assessment into a

bioavailability study—and only a bioavailability study. And that interpretation would have bizarre

implications. Clinical studies routinely contain pharmacokinetic data, even when their purpose is

to test other endpoints. See, e.g., FDA-001199 n.60 (rejecting argument that a study with a

“clinical endpoint intended to measure abuse potential” was a “bioavailability study” merely

because it also “measured the pharmacokinetic profile” of a drug). Under Liquidia’s view, such

studies would be ineligible for exclusivity, even if they reported results from extensive clinical

investigations that produced groundbreaking results showing, for example, brand new uses for an

existing drug. Liquidia’s approach would also result in irrational distinctions between applicants,

with exclusivity eligibility turning on whether an applicant conducts a given investigation in one



BREEZE to a mere “bioavailability study” and means that UTC’s NDA did not “contain[] reports
of new clinical investigations.” The definition of “bioavailability” on its own does nothing to
answer that question.


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study or several. For example, BREEZE’s secondary endpoints were independent of its primary

endpoint evaluating safety and tolerability, meaning that UTC could have conducted the same

safety and tolerability investigation in one study and then addressed secondary endpoints such as

pharmacokinetic assessments in different studies. Indeed, as Liquidia has acknowledged, UTC

did indeed conduct separate bioavailability studies. See FDA-000699-758. Liquidia advances no

reason why Congress would have wanted to incentivize inefficiency and delay by causing an

applicant to forfeit exclusivity for investigating too many endpoints at once.

           2. FDA’s decision was internally consistent and consistent with agency
              precedent.

       Liquidia next asserts (at 24-25) that FDA acted arbitrarily and capriciously because it

departed from a putative May 2022 finding without explanation and failed to treat the BREEZE

study consistently with the TIP-PH-102 study. Neither accusation is correct.

       First, Liquidia (at 24) is simply wrong that the Division’s May 2022 Exclusivity Summary

contained a “finding that BREEZE was a bioavailability study.” The sum total of the Division’s

analysis was as follows:

       This NDA provides for a new dosage form of treprostinil, a dry powder for oral
       inhalation. The basis of approval is the safety, tolerability, and bioavailability
       established in two studies. The safety and tolerability study provided confirmatory
       efficacy information only.

FDA-000453. Nothing in that language deems BREEZE a bioavailability study, nor does any

other unexplained checkmark in the form. See FDA-000455. To the contrary, that passage

expressly refers to BREEZE as “[t]he safety and tolerability study.” FDA-000453 (emphasis

added). Liquidia’s mischaracterization of the review division’s preliminary summary creates no




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basis for attacking the agency’s final Exclusivity Decision. 6

       Second, FDA’s treatment of BREEZE was consistent with its treatment of the TIP-PH-102

study. Liquidia argues that “TIP-PH-102 assessed both ‘relativity [sic] bioavailability’ of Tyvaso

DPI and Tyvaso, and ‘safety.’” Liquidia Opening Br. 25 (quoting FDA-000429) (emphasis added

by Liquidia). But the primary endpoint of TIP-PH-102 was bioavailability; the study considered

safety only secondarily. See, e.g., FDA-000839 (contrasting TIP-PH-102, “which aimed to

compare the systemic exposure of TreT and Tyvaso,” with BREEZE, “where the efficacy, safety,

and tolerability of TreT were assessed”); FDA-000351 (similar); FDA-000476 (describing TIP-

PH-102 as a “6-period crossover study comparing systemic exposure of 3 doses of treprostinil

inhalation powder and 3 doses of Tyvaso in healthy normal volunteers” (capitalization omitted)).

Liquidia itself recognized this distinction before pursuing litigation, as it argued to FDA that TIP-

PH-102 was a bioavailability study “because its primary objective was to evaluate the systematic

exposure and PK of Tyvaso DPI compared to [Tyvaso],” while Liquidia presented no such

argument as to BREEZE. FDA-000008. Thus, FDA’s treatment of TIP-PH-102 is consistent

with—indeed, reinforces—the agency’s approach to categorizing studies as “bioavailability

studies” depending upon their “primary” objective. FDA-000432.

       B.      The BREEZE study includes a report of a new clinical investigation.

       BREEZE also contains a report of a “new clinical investigation,” 21 U.S.C.

§ 355(c)(3)(E)(iii), because it is an investigation in humans that FDA had never previously relied

upon for any purpose. UTC conducted BREEZE at FDA’s direction to establish the safety and



6
  Equally wrong is Liquidia’s perplexing assertion that FDA’s Exclusivity Decision somehow
“concede[d]” that certain “aspects [of the BREEZE study] confirm that BREEZE was a
bioavailability study.” Liquidia Opening Br. 23 (quoting FDA-000432). The page of the decision
that Liquidia cites contains the opposite conclusion: BREEZE “is considered an investigation other
than a bioavailability study.” FDA-000432.


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tolerability of treprostinil in a new dry powder formulation. FDA-000432, -000691. The new

information provided by the BREEZE study thus “permitted broader use of treprostinil through

the approval of this new dosage form,” regardless of the specific indication, which offers

convenience advantages to patients and increases access to treprostinil compared to Tyvaso

inhalation solution. FDA-000436 n.87. The BREEZE study thus falls squarely within the

regulatory definition of “[n]ew clinical investigation” as describing:

       an investigation in humans the results of which have not been relied upon by FDA
       to demonstrate substantial evidence of effectiveness of a previously approved drug
       product for any indication or of safety for a new patient population and do not
       duplicate the results of another investigation that was relied on by the agency to
       demonstrate the effectiveness or safety in a new patient population of a previously
       approved drug product.

21 C.F.R. § 314.108(a). Indeed, FDA has long recognized that “changes in … dosage form” are

among those changes that “would normally warrant exclusivity.” Abbreviated New Drug

Application Regulations; Patent and Exclusivity Provisions, 59 Fed. Reg. 50,338, 50,357 (1994).

       Despite purporting to argue that FDA’s decision “flouts the FDCA,” Liquidia never

advances a statutory argument, as it simply endorses the agency’s regulatory definition. Liquidia

Opening Br. 25-26. As to the regulation, Liquidia identifies no interpretive disagreement, and its

arguments collapse into a scientific dispute over whether BREEZE’s results “merely duplicated

findings from prior studies on which FDA had already relied to approve certain drugs.” Id. at 26

(emphasis omitted). Liquidia’s assertion that the study results were duplicative of earlier findings

contradicts FDA’s thoroughly explained scientific judgment that the “BREEZE study answered

for the first time whether the active moiety treprostinil administered as an inhalation powder is

safe and tolerable for chronic use.” FDA-000442.

       Liquidia insists (at 26, 28) that TRIUMPH and INCREASE already “demonstrated the

safety and efficacy of treprostinil administered by inhalation for use in PAH and PH-ILD



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populations,” and that BREEZE “merely confirmed those results.”             But TRIUMPH and

INCREASE did not address “the safety and efficacy of treprostinil inhalation powder,” which was

“assessed for the first time in the BREEZE study.” FDA-000434. Indeed, TRIUMPH had shown

that treprostinil could “present tolerability challenges,” leading FDA to conclude a new study was

needed for Tyvaso DPI to assess safety and tolerability for “a novel dosage form of treprostinil …

i.e., inhalation powder.” FDA-000433. Nor, contrary to Liquidia’s assertion (at 27-28), did prior

studies of the inactive ingredient FDKP in the approval of Afrezza—an inhalable form of insulin

for treating diabetes 7—fill this gap. FDA did not credit Liquidia’s argument, advanced in its

citizen petition, that FDKP likely played a causal role in inducing respiratory risk for Afrezza

patients.   See FDA-000445 (describing this possibility as “speculative”); FDA-000589-590

(same). As a result, “the BREEZE study was not needed to assess the safety of FDKP in Tyvaso

DPI’s formulation.” FDA-000445. FDA’s concern was grounded in the safety and tolerability of

delivering treprostinil in a new dry powder formulation—not in whether the inactive ingredient

used in that formulation is safe. See FDA-000440 (“BREEZE study was needed precisely to assess

whether the new dosage form presented any such new or greater safety and tolerability risks

relative to previously approved treprostinil products.”). Thus, as FDA explained, the “BREEZE

study was not ‘merely supportive’” of previous studies; “it was, in fact, needed for approval.”

FDA-000439. Liquidia provides no basis for “second-guessing” FDA’s “scientific judgments” on

these points. Pharm. Mfg. Rsch. Servs., 957 F.3d at 262.

        In resisting FDA’s understanding of BREEZE’s contribution, Liquidia challenges (at 28-

29) FDA’s conclusion that BREEZE studied a “broader use of treprostinil.” Liquidia relies on the




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 Afrezza Label (rev. Feb. 2023), https://www.accessdata.fda.gov/drugsatfda_docs/label/2023/02
2472s023lbl.pdf; see also FDA-000445 (noting Afrezza is “an inhaled insulin product”).


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fact that BREEZE was conducted with PAH patients and that the labeling for Tyvaso DPI covers

PAH and PH-ILD patients, which mirrors the patient populations for Tyvaso. Id. at 29. Liquidia

also states (repeatedly) that “BREEZE provided ‘confirmatory efficacy information only.’” Id. at

26, 29 (quoting FDA-000453). But there is no requirement that a qualifying study—which may

be focused on safety or tolerability—must show a new product formulation is more efficacious

than previously approved formulations. Liquidia skips past FDA’s conclusion that BREEZE

permitted approval of “an additional treatment option for patients”—the Tyvaso DPI inhaler—

which has significant benefits compared to Tyvaso inhalation solution and “thus permit[s] broader

use of” treprostinil. See FDA-000437.

       Liquidia also ignores longstanding FDA policy recognizing that studies supporting

“changes” in the “dosage form” for a product “would normally warrant exclusivity.” 59 Fed. Reg.

at 50,357; accord 54 Fed. Reg. at 28,899. Inexplicably, Liquidia fails to address this FDA

statement, even as it relies on another FDA statement three paragraphs down in the same proposed

rulemaking preamble discussing the changes FDA regards as “significant enough” to support

exclusivity. Liquidia Opening Br. 28 (quoting 54 Fed. Reg. at 28,899). Liquidia engages in similar

evasion when it invokes (at 28) the Court’s decision in AstraZeneca Pharms. LP v. FDA, 872 F.

Supp. 2d 60 (D.D.C. 2012), aff’d, 713 F.3d 1134 (D.C. Cir. 2013). Liquidia implies that FDA and

the Court adopted Liquidia’s restrictive understanding of an exclusivity-eligible “new” use of a

drug. In fact, however, FDA explained in its AstraZeneca briefing that “[t]hree-year exclusivity

may also be granted for, e.g., new combinations of older products, or new esters, new strengths,

and new dosage forms.” AstraZeneca Pharms. LP v. FDA, ECF No. 27 at 6 (D.D.C. Apr. 11,

2012) (emphasis added). The Court then upheld FDA’s determination that a study establishing

new safety information applicable to the original drug product was ineligible for exclusivity, and




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as a point of contrast, it noted that the study had not led to changes such as “a new dosage.”

AstraZeneca, 872 F. Supp. 2d at 87. The AstraZeneca decision thus supports FDA’s decision here

despite Liquidia’s attempt to gin up an inconsistency.

       Finally, Liquidia asserts (at 27) that FDA acted arbitrarily and capriciously because the

decision rendered in August 2024, based on the recommendation of the CDER Exclusivity Board

(the entity within FDA responsible for exclusivity interpretation and policy), departed from the

preliminary assessment by the Division of Cardiology and Nephrology in the May 2022 checklist

summary. That earlier assessment was not a final agency action; indeed, it was prepared before

any competing application was otherwise ready for approval. Contrary to Liquidia’s assertion,

FDA expressly recognized that its new exclusivity determination—made for the first time with

input from the Exclusivity Board—“supersedes the original one dated May 23, 2022.” FDA-

000498. The Division’s original checklist summary included a single conclusory statement that

the BREEZE “safety and tolerability study provided confirmatory efficacy information only.”

FDA-000453. This checklist summary did not explain the significance of such a determination,

given that three-year exclusivity is not reserved for studies that provide new efficacy information.

Notably, the checklist never suggested that the safety and tolerability investigation from BREEZE

was only “confirmatory.” In any event, both the CDER Exclusivity Board’s memorandum and the

resulting FDA Exclusivity Decision addressed the assertion that BREEZE provided “only

supportive efficacy information” and explained that BREEZE was “not ‘merely supportive,’”

because it provided “vital” information to enable “the approval of treprostinil in [a] new dosage

form.” FDA-000438-439, 000486-487. No more explanation was required. See, e.g., ITServe

All., Inc. v. Cissna, 443 F. Supp. 3d 14, 31 (D.D.C. 2020) (“So long as any change is reasonably

explained, it is not arbitrary and capricious for an agency to change its mind ….”).




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       C.      The BREEZE study was essential to approval of Tyvaso DPI.

       There is likewise no reason to disturb FDA’s finding that BREEZE was essential to

approval of Tyvaso DPI. FDA has defined “essential to approval” to mean “with regard to an

investigation, that there are no other data available that could support approval of the NDA.” 21

C.F.R. § 314.108(a). As FDA explained, the BREEZE study meets that standard because it

provided vital information not available from any other source: “Without the BREEZE study, the

Division would not have had sufficient information regarding the safety and tolerability of multiple

doses of the new dosage form of treprostinil to support approval.” FDA-000435; see FDA-

000432-435, 000438-440. In other words, without the BREEZE study, patients would not have

been able to access Tyvaso DPI’s innovative dry-powder inhaler—a product that many participants

in the BREEZE study significantly preferred over Tyvaso. See FDA-000831.

       Again, Liquidia dresses up its challenge to FDA in legal garb, but it accepts (at 30) the

agency’s regulation interpreting the FDCA. Liquidia merely disputes FDA’s assessment of the

relevant clinical investigations, but offers no basis to disturb FDA’s scientific judgments.

               1.      The BREEZE study was the sole source of data on which FDA relied to
                       establish the safety and tolerability of the dry powder formulation of
                       treprostinil.

       Liquidia opens its attack on FDA’s scientific judgment by rewriting FDA’s Exclusivity

Decision. Liquidia selectively quotes that decision to contend that “BREEZE does not satisfy

FDA’s regulatory requirement because there were ‘other data available that could [and did] support

approval of the NDA.’ FDA-000422 (Exclusivity Decision).” Liquidia Opening Br. 29-30

(alteration in original). But the language Liquidia points comes from FDA’s explanation of the

statutory and regulatory background, throughout which FDA makes no mention of BREEZE, let

alone suggests that other data “could [and did] support approval.” See FDA-000422. To the

contrary, as discussed, pp. 15-16, supra, FDA explained that BREEZE was the only source of data


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to support a critical question for approval: whether multiple doses of treprostinil would be safe

and tolerable in the new dry powder dosage form. See FDA-000432-435, 000438-440.

       Liquidia then recycles arguments raised earlier in its brief, as it again contends (at 30) that

(1) “BREEZE’s results were merely confirmatory” of the TRIUMPH and INCREASE studies that

FDA relied on in approving Tyvaso, and (2) BREEZE could not have been essential to approval

for Tyvaso DPI to treat PH-ILD patients because the study only had PAH patients in its population

sample. As explained above, pp. 27-29, supra, these arguments are misguided because they elide

FDA’s actual reasoning. FDA reasonably determined that a new clinical investigation beyond

TRIUMPH and INCREASE was needed to determine the safety and tolerability of treprostinil in

the dry powder dosage form—a question that neither TRIUMPH nor INCREASE could answer

because patients in those studies received Tyvaso, not Tyvaso DPI’s innovative inhalation powder.

See FDA-000425, -000438-439.         FDA also reasonably determined that BREEZE supported

approval of Tyvaso DPI for both PAH and PH-ILD because the study’s findings about the

tolerability and safety of the dry powder formulation were not limited by indication. FDA-000448.

Liquidia provides no basis for the Court to second-guess FDA’s thoroughly explained

understanding of the science.

               2.     FDA’s finding that BREEZE was essential for approval was not
                      arbitrary or capricious.

       Liquidia likewise fails to substantiate its contention (at 30-34) that FDA’s “essential to

approval” finding contradicts FDA precedent and the evidence here.

       To start, Liquidia accuses FDA (at 31) of “manufactur[ing] novel safety concerns that the

record does not support.” But it is Liquidia’s narrative that conflicts with the record. Far from a

post hoc rationalization, the record shows that FDA provided guidance even before UTC submitted

the NDA for Tyvaso DPI that further clinical investigations would be needed to establish the safety



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       Liquidia next disputes (at 31-33) whether BREEZE was adequate to address FDA’s

concerns about safety and tolerability, as Liquidia quotes various statements from FDA reviewers

describing the BREEZE safety data as “limited.” But BREEZE followed precisely FDA’s

recommendations for an “open-label,” “short-term” safety and tolerability study, FDA-000691,

and FDA concluded that the data, whatever their limitations, supported a finding that the benefits

of the novel dosage form presented in Tyvaso DPI outweighed any risks. See FDA-000433,

000881, 000900. It is hard to imagine a judgment to which FDA is owed more deference than that

one. E.g., Doe v. Rumsfeld, 341 F. Supp. 2d 1, 9 (D.D.C. 2004). Liquidia’s observation (at 31)

that BREEZE only identified one instance of throat discomfort for a patient who discontinued the

study is an odd digression. BREEZE documented the adverse events identified among study

participants. FDA-000331-332, 000821-827. The fact that a particular adverse event never

manifested for most study participants does not suggest that BREEZE failed to study the risk.

       Continuing to challenge FDA’s scientific assessments, Liquidia insists (at 32-33) that

BREEZE did not establish the safety and tolerability of Tyvaso DPI for “chronic use” because the

study evaluated “short term safety and tolerability” over a three-week treatment phase. But

Liquidia improperly assumes that FDA could not make a reasonable assessment about safety and

tolerability for chronic use without conducting a long-term study. As FDA’s decision letter

explained, “chronic” refers to “multiple-dose use,” rather than a single dose. See FDA-000439.

Indeed, FDA requested the BREEZE study because of its “concern[] that the single-dose studies

in healthy subjects would not be adequate to assess tolerability of the new inhalation powder for

chronic use,” and the agency noted that the “BREEZE study provided this vital information for

approval for chronic use … following multiple-dose use in patients.” FDA-000439 (emphases

added). In other words, FDA’s concern about “chronic” use was about the safety and tolerability




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of Tyvaso DPI for repeat uses. See FDA-000439. Indeed,



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BREEZE study did just that. See FDA-000762. Liquidia cites nothing to support its implicit

contention that the study design FDA recommended was inadequate to allow for reasonable

extrapolation. FDA acted well within its discretion in finding that BREEZE “was sufficient in size

and duration to allow appropriate characterization of safety and tolerability.” FDA-000433-435,

000439-440 (emphasis added).

        Moreover, BREEZE included an optional extension phase beyond the three-week

treatment period that also “evaluate[d] the long-term safety and tolerability” of Tyvaso DPI. FDA-

000760 (emphasis added). Although Liquidia contends (at 33 n.23) that FDA relied solely on the

results of the three-week study and not those of the optional extension, the same table Liquidia

points to in FDA’s Exclusivity Decision expressly notes that the “safety of Tyvaso DPI was also

studied in an extension phase” and that the “adverse events during this long-term, extension phase

were similar to those observed in the 3-week treatment phase.” FDA-000429 (emphasis added).

       Finally, Liquidia repeats its argument (at 33-34) that the “true innovation” reflected in

Tyvaso DPI was use of the inactive ingredient FDKP, which was already known to FDA through

its approval of Afrezza. But FDA explained this characterization of Tyvaso DPI’s “innovative

change” “is incorrect.” FDA-000444. FDA requested a new clinical investigation to evaluate the

multiple-dose use of treprostinil in a dry powder formulation for chronic use, and the innovation

achieved by Tyvaso DPI and supported by BREEZE was to deliver treprostinil to patients in this

new dosage form for chronic use. FDA-000432-435, 000437, 000444, 000447. By contrast, FDA

“did not view the inclusion of FDKP in the Tyvaso DPI formulation as posing a significant safety




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risk, nor did it request the BREEZE study for the purpose of addressing such a risk.” FDA-000447.

Therefore, the fact that “FDKP had been previously approved in an inhaled insulin product,

Afrezza,” FDA-000445, is just not legally relevant. 9

        D.      FDA’s evaluation of the scope of Tyvaso DPI’s conditions of approval rested
                on sound scientific judgment and is consistent with prior agency decisions.

        Liquidia agrees with FDA that a drug’s three-year exclusivity can only be as broad as the

conditions of approval that were based upon the new clinical investigations identified in the

application for the drug. Compare Liquidia Opening Br. 35, with FDA-000418-19. Liquidia

likewise agrees (at 35) with FDA precedent providing that exclusivity under this test is based on

“the innovative change for which new clinical investigations are essential to approval.” FDA-

000418. Thus, although the plain text of the statute arguably supports broader exclusivity than

FDA has applied—the statute extends to block approval of follow-on drug products for the “same

conditions of approval” as the product entitled to exclusivity, without refence to the details of the

exclusivity-conferring study—the scope of exclusivity is at least as broad as supported by FDA’s

“innovative change” test that Liquidia endorses.

        Here, FDA determined as a scientific matter that the relevant new clinical investigation—

the BREEZE study—supported the use of Tyvaso DPI “in both PAH and PH-ILD patients who

are new to treprostinil inhalation treatment and such patients who transition from Tyvaso



9
 In a footnote, Liquidia asserts (at 32 n.22) that it was the “true innovator” of treprostinil inhalation
because it submitted its NDA before UTC submitted its Tyvaso DPI NDA. “[P]erfunctory and
undeveloped arguments” are “deemed waived,” and that “is especially true where the only
reference to the argument is raised in a footnote.” Gold Reserve Inc. v. Bolivarian Rep. of
Venezuela, 146 F. Supp. 3d 112, 126 (D.D.C. 2015) (quotation marks omitted). In any event,
Liquidia’s boast is legally irrelevant. The three-year exclusivity is triggered by final approval of
an application, not merely its submission (or even tentative approval). See 21 U.S.C.
§ 355(c)(3)(E)(iii). Here, Tyvaso DPI received final approval first, and Liquidia’s application,
which shares the same conditions of approval, is barred from receiving final approval until Tyvaso
DPI’s three-year exclusivity period expires. See id.


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inhalation solution.” FDA-000448. On that basis, FDA approved Tyvaso DPI for that indication

and those patient populations. See id. FDA further found that the “innovative change represented

by Tyvaso DPI is the new dosage form, inhalation powder, for the active moiety treprostinil,” since

BREEZE was essential to the agency’s approval of the first ever treprostinil product in that dosage

form. FDA-000444. In short, because “the BREEZE study answered for the first time whether

the active moiety treprostinil administered as an inhalation powder is safe and tolerable for chronic

use,” Tyvaso DPI’s new dosage form is entitled to exclusivity. FDA-000446-447. During that

exclusivity period, a company like Liquidia can secure approval for a treprostinil product either

by filing a 505(b)(1) application and relying only on its own studies, or by seeking approval of

treprostinil in a different dosage form. But it may not rely on the 505(b)(2) shortcut to secure

approval of another treprostinil product that uses the same dry powder dosage form as Tyvaso DPI.

       Liquidia tries two tacks to narrow the innovative change represented by Tyvaso DPI, first

arguing that the exclusivity should be cabined to PAH patients, and then asserting that the

exclusivity should be limited to Tyvaso DPI’s precise chemical formulation. Neither argument is

sound, as both distort the role the BREEZE study played in FDA’s approval decision.

               1.      Liquidia identifies no basis to second-guess FDA’s scientific judgment
                       that BREEZE supports use of Tyvaso DPI in PAH and PH-ILD
                       patients who are new to treprostinil inhalation.

       Liquidia does not directly challenge FDA’s conclusion that Tyvaso DPI is safe and

effective for treatment of both PH-ILD and PAH, bringing the treatment of both illnesses within

the conditions of approval for the product. And how could it? After all, Liquidia is itself seeking

to piggyback on UTC’s earlier approvals to launch a treprostinil powder drug for the same

indications. Liquidia nevertheless argues (at 36-37) that UTC’s exclusivity should have been

“limit[ed] … to the patient population actually studied by BREEZE”—i.e., PAH patients on

Tyvaso who switched to Tyvaso DPI. Liquidia purports to derive that rule from FDA precedent,


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but Liquidia ignores FDA’s contrary explanation of the governing test. As FDA has explained

repeatedly:

        [A] particular clinical investigation may be more limited in scope or more specific
        than the conclusions (and thus the scope of exclusivity) that can be drawn from it.
        As a result, a drug studied in very specific conditions might be approved with a
        broader indication and not limited to those conditions under which it happened to
        be studied.

FDA-000116 (FDA exclusivity letter on remand from Braeburn, 389 F. Supp. 3d 1) (footnote

omitted); see also FDA-000423. The “scope of a product’s innovation similarly might not be

defined by specific characteristics of its clinical studies where these are not clinically meaningful.”

FDA-000116; see also FDA-000423.

        For example, in Braeburn, FDA concluded the NDA sponsor was entitled to three-year

exclusivity for a monthly depot formulation of buprenorphine to treat moderate-to-severe opioid

use disorder.   FDA-000094.       In reaching that conclusion, FDA rejected the argument that

exclusivity should be limited to use in patients that shared the characteristics of the patient

population in the qualifying investigation—specifically patients that were “new to buprenorphine

treatment,” which would exclude “maintenance treatment for patients already receiving

buprenorphine.” Braeburn, 389 F. Supp. 3d at 29; see also FDA-000106-107. FDA reaffirmed

that determination on remand, concluding that “this characteristic of [the qualifying] studies does

not define the scope of its exclusivity, including because it does not actually constrain the

population for which use of [the product] is appropriate.” FDA-000120. Rather, FDA’s “medical

and scientific experts determined that the studies in new entrants to treatment supported approval

in both groups,” because the results of the clinical studies “extend to clinically stable patients.” Id.

Liquidia conspicuously ignores the Braeburn remand decision, despite its inclusion in the

administrative record and extensive discussion of earlier FDA precedents on which Liquidia relies.

See FDA-000113-114, 000123-125 (discussing Astagraf XL example from Veloxis). Liquidia’s


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omission is telling: the Braeburn example directly contradicts its theory that FDA generally limits

“the scope of exclusivity to the patient population actually studied.” Liquidia Opening Br. 37.

       To be sure, sometimes the scope of exclusivity is limited by particular characteristics of the

studied patient population. In Veloxis, for example, the relevant study only demonstrated the safety

and efficacy of Astagraf XL in “de novo” transplant patients—and so Astagraf XL was approved

and indicated only for that class of patients. See 109 F. Supp. 3d at 121. The same was true in

MorphaBond:




       But FDA has cautioned that the scope of exclusivity supported by a study is “a fact-specific

determination.” FDA-000423. Here, although BREEZE’s patient population consisted of PAH

patients on a stable dose of Tyvaso, FDA found that the conclusions one can draw from the study

are not limited to those populations. FDA-000447-448. As FDA explained:

       Although the population studied was limited, the approval it supported was not; it
       supported approval in both PAH and PH-ILD patients who are new to treprostinil
       inhalation treatment and such patients who transition from Tyvaso inhalation
       solution, and thus the scope of exclusivity is not limited to ‘stable, switch patients’
       in whom it was studied.

FDA-000448. And so, unlike in Astagraf XL and MorphaBond, the Tyvaso DPI label is not

limited to the studied patient populations—it reflects the broader approval that FDA concluded

BREEZE justified. To the extent Liquidia disputes FDA’s finding that BREEZE allows one to

draw conclusions about the safety and tolerability of Tyvaso DPI for PH-ILD patients or patients

new to treprostinil inhalation, Liquidia is again challenging the agency’s factual, scientific

determination rather than any legal conclusion. Liquidia offers no evidence to undermine FDA’s

factual determination—much less evidence sufficient to overcome the “high level of deference”




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is appropriate,” and it is not “otherwise expected to change a clinician’s determination as to

whether the product is appropriate for use in a particular patient.” FDA-000449. Accordingly,

FDA concluded, “FDKP is not a clinically meaningful characteristic of Tyvaso DPI that further

defines or limits the scope of its innovation.” Id.

       Liquidia does not challenge the legal standard FDA applied—i.e., whether the

characteristic at issue is “clinically meaningful.” See Liquidia Opening Br. 39-40. Instead,

Liquidia invokes a single instance in which FDA limited three-year exclusivity “to the unique

formulation and associated drug release profile” studied and then suggests that FDA should have

adopted the same approach here. Id. at 40. But the Dyanavel XR decision that Liquidia cites is

inapposite, as FDA explained. See FDA-000446-447 (discussing and distinguishing the Dyanavel

XR decision). In that case,




         Here, by contrast, FDA found that BREEZE supported approval of treprostinil in a novel

dosage form—it was not limited to the suitability of using FDKP in particular. FDA-000444-445.

Liquidia’s efforts to dispute that finding rest on irrelevant distractions. In particular, Liquidia

attributes significance to the Tyvaso DPI label’s inclusion of a warning “concerning

bronchospasms risks,” which Liquidia insists (at 40-41) traces to FDKP and the agency’s earlier

approval of Afrezza. But as FDA explained to Liquidia, “this warning is not unique to Tyvaso

DPI and is also presented in the approved labeling for Tyvaso inhalation solution, which does not

contain FDKP.” FDA-000449 n.144.




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       FDA properly applied legal standards that Liquidia does not challenge in determining that

BREEZE was essential to approval, recognizing the “conditions of approval” BREEZE

established, and concluding Tyvaso DPI is entitled to three-year exclusivity. There was nothing

arbitrary, capricious, or otherwise contrary to law about that decision.         This Court should

accordingly deny Liquidia’s motion.

II.    Liquidia Is Not Entitled to a Preliminary Injunction.

       Liquidia formally renews its preliminary injunction motion, but it appears to effectively

abandon any request for preliminary relief and instead asks only for final relief under the APA.

See Liquidia Opening Br. 44. Liquidia’s implicit concession is correct: a preliminary injunction

would be entirely inappropriate here where Liquidia seeks to upend the status quo and override an

exclusivity that could not be restored at the end of the case. See, e.g., Starbucks Corp. v. McKinney,

144 S. Ct. 1570, 1576 (2024) (purpose of a “preliminary injunction” “is merely to preserve the

relative positions of the parties until a trial on the merits can be held”); Kondapally v. U.S.

Citizenship & Immigr. Servs., 2020 WL 5061735, at *3 (D.D.C. Aug. 27, 2020) (“Mandatory

injunctions that would change the status quo are disfavored as an even more extraordinary remedy

than the typical preliminary injunction” (quotation marks omitted)). The Court should accordingly

proceed to resolve the case on the cross-motions for summary judgment.

       But to the extent still relevant, the traditional factors do not support a preliminary

injunction. For the reasons explained above, Liquidia is not likely to succeed on the merits. The

other preliminary injunction factors also counsel against injunctive relief.

       A.      Liquidia has not shown irreparable harm.

       Liquidia makes no serious effort to show it is suffering or will soon suffer irreparable harm.

If Liquidia is delayed entering the inhaled treprostinil market, its harm will be, at most, monetary


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injury, which is insufficient on its own to support a preliminary injunction. Air Transp. Ass’n v.

Exp.-Imp. Bank, 840 F. Supp. 2d 327, 335 (D.D.C. 2012). The holding in Torpharm, Inc. v.

Shalala, on which Liquidia relies, was based on a competitive market structure with “long-term

contracts,” which Liquidia does not allege exist in the treprostinil market. 1997 WL 33472411, at

*4 (D.D.C. Sept. 15, 1997).

       Contradicting its own previous position, Liquidia contends its economic injury is

inherently irreparable just because damages against FDA are barred by sovereign immunity.

Liquidia recently described that exact argument as “simplistic” and wrong. United Therapeutics

Corp. v. FDA, 24-cv-00484, ECF No. 24, at 39 (D.D.C. Mar. 18, 2024); see also Air Transp., 840

F. Supp. 2d at 335. Unrecoverable economic injury is sometimes irreparable, but Liquidia makes

no effort to make such a showing here. Liquidia would simply like to start making money a few

months sooner, but it has failed to substantiate the significance of that limited period.

       B.      The balance of hardships and public interest strongly disfavor an injunction.

       Neither the balance of harms nor the public interest favors entry of a preliminary injunction.

If this Court were to grant preliminary injunctive relief, UTC would forever lose the benefit of the

marketing exclusivity provided by Congress, given that Liquidia could secure final approval and

launch despite FDA determining that UTC completed a new clinical investigation essential to

approval of Tyvaso DPI. And injunctive relief in this context would not be preliminary in nature.

Given that this exclusivity period expires in May 2025, it is unlikely that UTC’s statutory right

could be restored at the end of litigation. Courts in this Circuit have repeatedly recognized that

the loss of such a “statutory entitlement” is irreparable because “[o]nce the statutory entitlement

has been lost, it cannot be recaptured.” Apotex, Inc. v. FDA, 2006 WL 1030151, at *17 (D.D.C.

Apr. 19, 2006) (citing Mova, 140 F.3d at 1067 (D.C. Cir. 1998)), aff’d, 449 F.3d 1249 (D.C. Cir.

2006); see also Mylan Labs. Ltd. v. FDA, 910 F. Supp. 2d 299, 313 (D.D.C. 2012) (explaining that


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the loss of an exclusivity period “specifically intended by Congress” is inherently irreparable).

This Court should apply the same reasoning here and hold that the harm to UTC from losing its

right to a statutory three-year exclusivity period outweighs Liquidia’s interest in accelerating its

approval. 10

        The public interest likewise disfavors the award of preliminary injunctive relief that would

prematurely terminate UTC’s statutory right to exclusivity. Allowing Liquidia to bypass UTC’s

statutory exclusivity would undermine the incentive Congress created for innovators like UTC to

continue investing in research and development. To the extent Liquidia claims (at 43) that

Yutrepia would “help give PAH and PH-ILD patients access to a new and differentiated treatment

option,” Liquidia has provided no evidence to support any suggestion that Yutrepia could treat a

more expansive patient population or be more effective. Indeed, as FDA explained, Yutrepia

shares the same conditions of approval as Tyvaso DPI. See pp. 16-18, supra.

III.    Liquidia’s Requested Relief Should Be Denied.

        For the reasons given above, Liquidia has not established the right to any relief. FDA’s

actions are neither arbitrary and capricious nor otherwise unlawful. Liquidia’s request for relief

overreaches in any event. As Liquidia recognizes in parts of its brief, if the Court were to identify

an error with the FDA’s exclusivity determination, the proper remedy would be vacatur and

remand. Under the ordinary remand rule, it would be left for the agency, not the Court, to conform



10
   Moreover, were Liquidia able to launch Yutrepia before Tyvaso DPI’s exclusivity period ended,
UTC would suffer harm in the form of price erosion, lost market share, and loss of goodwill—all
forms of injury that courts have recognized as paradigmatic examples of irreparable harm. See
Bayer HealthCare, LLC v. FDA, 942 F. Supp. 2d 17, 26 (D.D.C. 2013) (“Courts have recognized
that price erosion and diminished market share can constitute irreparable harm.”); Xiaomi Corp. v.
Dep’t of Defense, 2021 WL 950144, at *9 (D.D.C. Mar. 21, 2021) (“[B]ecause ‘[i]njury to
reputation or goodwill is not easily measurable in monetary terms’ it is typically ‘viewed as
irreparable.’” (second alteration in original) (quoting 11A Charles Alan Wright & Arthur R. Miller,
Federal Practice and Procedure § 2948.1 (3d ed. 2021))).


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its exclusivity determination to the Court’s ruling. See, e.g., Calcutt v. FDIC, 598 U.S. 623 (2023)

(describing the ordinary remand rule). 11 This Court should not constrain what the agency may

decide on remand or require it to move unrealistically fast, as under the two-week timetable

Liquidia proposes. Any remand must provide sufficient time for an orderly process, including

providing an opportunity for UTC to participate in further defense of its statutory exclusivity right.

       In no event should the Court indulge Liquidia’s demand (at 45) that it “take all steps

necessary to promptly give full approval to Yutrepia.” Not only would that short-circuit FDA’s

ability to adopt a position on the exclusivity issue, but it would also preempt adjudication of UTC’s

cross-claim, which contends that final approval of Liquidia’s 505(b)(2) application in its current

form would be unlawful—whether during or after UTC’s period of exclusivity. This Court should

not order what the cross-claim seeks to preclude—a launch of Yutrepia that cannot feasibly be

unraveled—without first resolving the merits of the cross-claim.

                                          CONCLUSION

       For the reasons stated above, this Court should grant the Federal Defendants’ and UTC’s

motions for summary judgment and deny Liquidia’s renewed motion for a preliminary injunction

and motion for summary judgment.




11
   The two unpublished decisions on which Liquidia relies (at 45) are outliers that do not support
a departure from the remand rule. In Teva Pharms. USA v. FDA, the court concluded there was
“no rational reason” for FDA to withhold final approval and thus nothing further for the agency to
address. 1999 WL 1042743, at *7 (D.D.C. Aug. 19, 1999). Similarly, in Toropharm, Inc. v.
Shalala, the court held that the “unambiguous command of the statute” compelled FDA to make
its approval immediately effective; the issue there turned on whether a particular court decision
automatically dissolves a statutory stay, not on any issue of scientific judgment by the agency.
1997 WL 33472411, at *3 (D.D.C. Sept. 15, 1997). The situation here, where Liquidia generally
accepts FDA’s legal framework but quibbles with its scientific judgments, is not comparable.


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October 15, 2024                           Respectfully submitted.

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